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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

  THE DIAMOND CONSORTIUM, INC.                      §
  D/B/A THE DIAMOND DOCTOR                          §
                                                    §
         Plaintiffs,                                §
                                                    §
  vs.                                               §   Civil Action No. 4:17-CV-00452
                                                    §
  MARK HAMMERVOLD and                               §
  HAMMERVOLD PLC.                                   §
                                                    §
                                                    §
         Defendants.                                §


                                                  ORDER

         Having        considered   Defendants’   Unopposed   Motion   for   Leave   to   File   the

. Supplemental Declaration of Mark Hammervold under Seal (Dkt. #35), and finding good

  cause therefor, the Court finds the Motion should be and is hereby GRANTED. Defendants

  are directed to file the sealed Supplemental Declaration of Mark Hammervold forthwith.

         IT IS SO ORDERED.
         SIGNED this 19th day of September, 2018.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
